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                                           U.S. Department of Justice

                                                      United States Attorney
                                                      Southern District of New York
                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007



                                                      April 30, 2023

VIA ECF
Hon. Analisa Torres
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, NY 10007-1312

       Re:     United States v. Kwok et al., S1 23 Cr. 118 (AT)

Dear Judge Torres:

       The Government writes in response to Yanping Wang’s April 28, 2023 letter concerning
the Government’s proposed protective order.

       First, both defendants request that the Court add “interpreters” as “Designated Persons” in
paragraph 7(e) of the proposed protective order. The Government does not object to this request.
Attached in Exhibit A is a modified proposed protective order to include this change.

        Second, both defendants request that the Court permit their counsel to retain “Highly
Confidential” material in locations other than their offices. The Government does not object to
“Designated Persons” retaining “Highly Confidential” material in their offices or homes. To the
extent the defense intends to transport sensitive material to other locations, the parties can discuss
such proposals. The Government intends to be flexible about this issue. The proposed order in
Exhibit A is modified in accord with the foregoing. 1

       Third, only defendant Wang objects to the Attorney’s Eyes-Only provision in the protective
order. This provision remains appropriate, particularly given the documented history of
obstruction by defendant Kwok and his associates.

       Fourth, in Exhibit A the Government has added paragraph 16, which would require the
defendants to notify the Government at least ten business days before producing materials pursuant
to subpoenas, court orders, or other requests. The Government has already received a blanket

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  The Government continues to believe that lay-witnesses should not be permitted to permanently
possess Confidential material, which includes financial information of victims and third parties.
(The proposed order permits lay-witness counsel to retain such material, if necessary.) Defense
counsel does not identify how such a commonsense restriction interferes with their ability to
prepare a defense. To the extent a particular unrepresented lay witness seeks to retain possession
of Confidential material, the parties can discuss whether such request is appropriate, and the
defense can seek the Court’s permission in the event of a disagreement. Blanket permission for
all lay witness to retain Confidential material is not warranted.
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request for duplicate discovery from a purported Kwok associate who claims that the
Government’s discovery is relevant to another legal matter. The defendants, and their associates,
should not be permitted to circumvent the protective order’s protections through the use of civil
lawsuits. This proposed provision in no way impacts the substantive rights of the defendants or
their counsel. It merely requires that advance notice be provided to afford the Government an
opportunity to quash a subpoena if the Government deems it appropriate.


                                                Respectfully submitted,

                                                DAMIAN WILLIAMS
                                                United States Attorney


                                            By: /s/
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Cc:    All Counsel (By ECF)
